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Case1:18-cv-03572-LDH-LB
     1:18-cv-03572-LDH-LB Document
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     1:18-cv-03572-LDH-LB Document
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     1:18-cv-03572-LDH-LB Document
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